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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


 VICTORIA RENEE MCKOY
 AND DESIREE WRIGHT
 LOVINS, individually and on behalf
 of persons similarly situated,

              Plaintiffs,                            CIVIL ACTION FILE
   v.                                                NO. _______________
 BIG PICTURE LOANS, LLC, MATT
 MARTORELLO, ASCENSION
 TECHNOLOGIES, LLC F/K/A
 BELLICOSE CAPITAL, LLC, DANIEL
 GRAVEL,

              Defendants.




                            CLASS ACTION COMPLAINT


        COMES NOW Plaintiffs, Victoria Renee McKoy and Desiree Wright Lovins

(“Plaintiffs”), on behalf of themselves and all individuals similarly situated, by counsel,

and for their Class Action Complaint against Defendants, Big Picture Loans, LLC,

Matt Martorello, Ascension Technologies, LLC f/k/a Bellicose Capital, LLC,

Daniel Gravel (collectively “Defendants”), they allege as follows:
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                               I. INTRODUCTION

      1. This case involves the online payday lending industry1, which takes

advantage of desperate, poor Americans needing quick access to money by

charging unconscionably high interest rates, often exceeding 550%. Payday

lenders, such as Big Picture Loans, LLC, claim that they are above the law because

they are supposedly wholly owned by a Native American tribe. However, lurking

in the shadows, there is a complicated corporate management structure

attempting to hide the fact that non-tribal members reap the overwhelming




1 The term “payday loan” is generally recognized as “a loan of short duration,
typically two weeks [coinciding with the borrower's next payday], at an
astronomical interest rate. Payday loans are the current version of salary buying
or wage buying.” Western Sky Financial, LLC v. State ex rel. Olens, 300 Ga. 340, 343
n.5, 793 S.E.2d 357, 363 n.5 (2016), quoting Clay v. Oxendine, 285 Ga.App. 50, 50 (1),
645 S.E.2d 553 (2007) (internal quotations and citations omitted). Similarly, an
installment loan is a small-dollar consumer loan with terms that allow for the
repayment of the debt over a period of months, generally with bi-weekly or
monthly payment terms. In Georgia, the consumer finance laws address the
legality of “payday loans” and “installment loans” through the same lending
statutes, which regulate the lending of $3,000 or less at interest rates that exceed
eight percent (8%). GA. CODE ANN. §§ 7-3-1, et seq.; GA. CODE ANN. §§ 16-17-1, et
seq.
        Chapter 17 of Title 16 of the Georgia Code is commonly referred to as the
“Payday Lending Act,” even though it applies to installment loans as well.
Similarly, Plaintiffs may refer to the loans and lending practices at issue in this
litigation as “payday loans” or “payday lending,” even though the loans to
Plaintiffs and members of the Class may be more accurately defined as installment
loans. Regardless of whether the term “payday loan” or “installment loan” is used
hereafter, the lending practices at issue pertain to loans of $3,000 or less made to
Georgia borrowers at interest rates that exceed eight percent (8%).


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majority of the profits. The purpose of this litigation is to shed light on this criminal

enterprise that was established with the intent of evading state lending laws, to

return the illegal gains to the exploited borrowers, to obtain statutory damages in

accordance with Georgia and federal law, and to enjoin the Defendants from

continuing their illegal practices with Georgia borrowers.

      2. Attempting to insulate themselves from legal liability for their usurious

lending practices, Defendants established what is commonly referred to as a “rent-

a-tribe” business model, where a lender associates with a Native American tribe

in an attempt to cloak itself in the privileges and immunities enjoyed by the tribe—

or to at least create the illusion that it enjoys tribal immunity.

      3. In this instance, Defendant Matt Martorello used the Lac Vieux Desert

Band of Lake Superior Chippewa Indians (the “Tribe”) to set up a lending entity

supposedly beyond the reach of state and federal licensing and lending laws.

Under the rent-a-tribe model, Defendants made high-interest loans in the name of

Big Picture Loans, LLC (“Big Picture Loans”), which claims to be owned and

operated by the Tribe. In reality, Martorello’s company, Bellicose Capital, LLC

(“Bellicose Capital”), funded the loans, controlled the underwriting, and handled

the day-to-day operations of the business.

      4. Big Picture Loans served as a front to disguise Martorello’s and his

company’s roles and to ostensibly shield the scheme by exploiting tribal sovereign



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immunity. In return for the use of its name to exploit claims of tribal sovereign

immunity, the Tribe received about two percent (2%) of the revenue from the

loans.2

      5. In approximately       January 2016, Ascension Technologies, LLC

(“Ascension Technologies”) acquired Bellicose Capital. Like Big Picture Loans,

Ascension Technologies claims to be owned and operated by the Tribe.3 Despite



2Zeke Faux, Payday Lenders are Changing the Game Ahead of a U.S. Crackdown,
Bloomberg (Feb. 4, 2016) (“Bellicose has collected tens of millions of dollars, with
the    tribe   keeping      about     2     percent     of    the     revenue….”).
https://bloomberg.com/news/articles/2016-02-04/payday-lenders-are-
changing-the-game-ahead-of-a-u-s-crackdown (last visited June 27, 2018).
3  This lawsuit challenges Big Picture Loans’ and Ascension Technologies’
anticipated claim that they are an “arm of the Tribe” and thus entitled to the
protection of sovereign immunity. Although the doctrine of tribal sovereign
immunity protects the Tribe itself, the Supreme Court of Georgia has held that this
state’s jurisdiction over predatory payday lending practices is not defeated by
tribal sovereignty, because the subject of the litigation involves non-
discriminatory civil and criminal laws regulating conduct beyond the boundaries
of the Native Americans’ reservation. See also Western Sky Financial, LLC v. State ex
rel. Olens, 300 Ga. 340, 348, 793 S.E.2d 357, 366-67 (2016). Additionally or
alternatively, the tribal sovereignty does not automatically extend to economic
subdivisions of a tribe, and the Court must determine whether these entities are
“analogous to a governmental agency, which should benefit from sovereign
immunity” or whether they are more like a “commercial business enterprise,
instituted for the purpose of generating profits for [their] private owners.”
Breakthrough Mgmt. Grp., Inc. v. Chukchansi Gold Casino & Resort, 629 F.3d 1173, 1184
(10th Cir. 2010) (citing Gavle v. Little Six, Inc., 555 N.W.2d 284, 293 (Minn. 1996)).
In addition to the analysis in this Complaint concerning the creation, purpose, and
business structure of Big Picture Loans and Ascension Technologies, these
companies are not entitled to sovereign immunity because the conduct at issue
occurred outside of the reservation boundaries; the vast majority of the profits
from the scheme went to non-tribal participants; the companies are not wholly

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the alleged tribal ownership, Ascension Technologies continues to conduct its

business off of the tribal reservation and generate massive profits for Martorello.

In fact, Ascension Technologies conducts a significant amount of its illegal

operations at its corporate offices in this Division. On information and belief, at all

times relevant to this litigation, the Tribe has had no direct control over the income,

expenses, or day-to-day operations of Big Picture Loans, Bellicose Capital, or

Ascension Technologies. Further, on information and belief, the Tribe does not

fund the loans or handle the servicing or collection of the loans.

      6. From their respective residences in Georgia, Plaintiffs, Victoria Renee

McKoy and Desiree Wright Lovins, received short-term installment loans.

Through online application and confirmation by telephone, Ms. McKoy obtained

an $800 loan from Big Picture Loans with bi-weekly payments of $189.08.

Similarly, Ms. Lovins received a loan of $300 with payments of $145.12 deducted

from her account every month. Neither Plaintiff was told that the interest rate for

their respective loans would exceed 550%. Plaintiffs were not given the

opportunity to consider Big Picture Loans’ agreement and were not informed that

it would attempt to set aside their rights under Georgia law.



owned, operated, and/or controlled by the Tribe; and the companies were
established for the sole purpose of evading state usury laws. Further, extending
the protections of tribal immunity to Defendants’ scheme would not serve the
policies underlying tribal sovereign immunity.


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      7. Plaintiffs assert a class claim for Defendants’ violations of Georgia’s

lending statutes. Short term loans under $3,000 at an interest rate that exceeds

eight percent (8%) from a non-bank lender are illegal under Georgia law. GA. CODE

ANN. §§ 16-17-1, et seq. Defendants’ loan transactions were made in violation of §

16-17-2 of the Payday Lending Act and should be declared null and void ab initio.

GA. CODE ANN. § 16-17-2. Defendants also violated the Industrial Loan Act by

making and collecting loans as an unlicensed lender that greatly exceed the

maximum legal interest rate under Georgia law. GA. CODE ANN. §§ 7-3-1, et seq.

For making the unlicensed, usurious loans, the Defendants’ loans are void and

unenforceable, and the Defendants and related third parties may not collect,

obtain, or receive any principal or interest on the loans. GA. CODE ANN. § 7-3-29(a).

In a judgment entered against the Defendants jointly and severally, the Court

should order that the debts at issue are void and that Defendants must repay the

principal and interest as well as statutory damages equal to three times the amount

of any interest or other charges to the borrowers arising out of Defendants’ loan

transactions. GA. CODE ANN. § 16-17-3.

      8. Defendants’ conduct, as alleged herein, violated the Racketeer

Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C. §§ 1961–1968.

Defendants acted in concert and conspired with others to repeatedly violate state

lending statutes resulting in the collection of an unlawful debt from Plaintiffs and



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the Class members. In violation of the statute, Defendants sought to collect, and

did collect on usurious, “unlawful debts” under 18 U.S.C. § 1961(6), specifically

Defendants collected debts incurred in “the business of lending money” where the

“usurious rate is at least twice the enforceable rate” under state or federal law.

Defendants’ acts described herein are unlawful as set forth in 18 U.S.C. § 1962.

      9. Defendants’ operations also violated the Georgia Racketeer Influenced

and Corrupt Organizations Act (“Georgia RICO Act”), GA. CODE ANN. §§ 16-14-1,

et seq. Specifically, Defendants participated in, and conspired to participate in, a

pattern of racketeering activity through the violation of the Georgia Payday

Lending Act. GA. CODE ANN. §§ 16–14–3(9)(A)(xxxviii), 16-14-4(a), 16-14-4(c). As a

proximate result of these unlicensed and illegal operations, Defendants

systematically charged excessive and usurious interest rates to Plaintiffs and the

Class. To address this wrongful conduct, the Court should enjoin the Defendants

from further misconduct as permitted by statute as well as award three times

actual damages, punitive damages, attorneys’ fees, and reasonable investigation

and litigation costs. GA. CODE ANN. § 16–14–6.

      10. In the alternative, Plaintiffs also assert a class claim for Defendants’

unjust enrichment. Defendants were unjustly enriched by their receipt of any

payments on the void and uncollectable loans. It would be inequitable for the

Defendants to accept or retain the benefit conferred by their unlicensed and



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usurious lending scheme, namely the collection on illegal loans. Under this

alternative theory of recovery, Plaintiffs further seek injunctive and/or declaratory

relief in the form of debt forgiveness on all pending and future loans with Georgia

borrowers. Plaintiffs further seek the collection of attorneys’ fees and costs to the

extent permissible under state and federal law.

      11. Plaintiffs also seek a declaratory judgment that the choice-of-law, forum

selection, tribal dispute resolution, and class action waiver provisions in Big

Picture Loans’ loan agreement are void and unenforceable because they violate

Georgia law. GA. CODE ANN. § 16-17-2(c)(1) (prohibiting loan agreements

involving Georgia residents from including choice of law and forum selection

provisions that designate a law other than Georgia law or a court other than the

county in which the borrower resides); GA. CODE ANN. § 16-17-2(c)(2) (prohibiting

unconscionable arbitration provisions). Additionally, the terms of the loan

agreement are void and unenforceable because they are unconscionable and

against public policy. For example, the loan agreement seeks to disclaim all federal

and state laws in favor of “tribal law.” The choice of law, dispute resolution, and

class action waiver provisions offer no forum for a just and fair adjudication of

Plaintiffs’ rights and obligations. As addressed by the Georgia Supreme Court,

out-of-state lenders cannot circumvent the Payday Lending Act by drafting “an

agreement to contract around it.” Western Sky Financial, LLC, 300 Ga. at 347, 793



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S.E.2d at 366. These unconscionable provisions also render the loan agreements

void and unenforceable as a matter of public policy.4

                        II. JURISDICTION AND VENUE

      12. This Court has jurisdiction pursuant to 18 U.S.C. § 1965 and 28 U.S.C.

§ 1332(d)(2). Moreover, the Court has supplemental jurisdiction over state law

claims pursuant to 28 U.S.C. § 1367.

      13. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) as Plaintiff,

Victoria Renee McKoy, is a resident of this District and a substantial part of

Plaintiffs’ claims occurred in this Division of the Northern District of Georgia.

Additionally, Defendant Ascension Technologies is a foreign limited liability

corporation with operations in Atlanta, Georgia and a registered agent for service

of process in this Division.

                                  III. PARTIES

      14. Plaintiff Victoria Renee McKoy (“McKoy”) is a natural person and

resident of Buford in Gwinnett County, Georgia.




4For example, in two recent cases, the Fourth Circuit held that similar provisions
were unenforceable for violating public policy. Hayes v. Delbert Services Corp., 811
F.3d 666, 673 (4th Cir. 2016) (“This arbitration agreement fails for the fundamental
reason that it purports to renounce wholesale the application of any federal law to
plaintiffs’ federal claims.”); see also Dillon v. BMO Harris Bank, N.A., 2017 WL
1903475, at *4 (4th Cir. 2017) (“[W]e interpret these terms in the arbitration
agreement as an unambiguous attempt to apply tribal law to the exclusion of federal
and state law.”).

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      15. Plaintiff Desiree Wright Lovins (“Lovins”) is a natural person and

resident of Valdosta in Lowndes County, Georgia.

      16. Defendant Big Picture Loans is a limited liability company doing

business     as   an   internet   lending    website   under   the   domain    name

www.bigpictureloans.com. Big Picture Loans is the successor in interest of Red

Rock Tribal Lending, LLC and Castle Payday (collectively referred to hereafter as

“Big Picture Loans”).5 Big Picture Loans was formed in approximately August

2014. Big Picture Loans does business in Gwinnett County, Lowndes County, and

throughout the State of Georgia and the United States.

      17. Defendant Matt Martorello is a natural person and resident of Dallas,

Texas and/or Dorado, Puerto Rico. Martorello was the founder and chief

executive officer of Bellicose Capital, which Martorello created to make and collect

the usurious loans described herein. Martorello was the architect of the rent-a-tribe

lending scheme and had direct personal involvement in the creation and day-to-

day operations of the illegal enterprise. Martorello does business in Gwinnett

County, Lowndes County, and throughout the State of Georgia and the United

States.




5 Castle Payday, We Have Big News! Castle Payday is now Big Picture Loans,
https://www.bigpictureloans.com/CastlePaydayRedirectLanding (last visited
June 27, 2018).


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      18. Defendant Ascension Technologies, LLC, f/k/a Bellicose Capital, LLC

(“Ascension Technologies”) is a limited liability company. Bellicose Capital was

formed in approximately 2011 under the laws of the U.S. Virgin Islands and then

Puerto Rico. Based on available evidence, Ascension Technologies’ principal place

of business is in Atlanta, Georgia. On information and belief, Bellicose Capital

procured the investment capital, serviced the loans, and received the vast majority

of the revenue from loans created through Big Picture Loans. In approximately

April 2016, Martorello transferred, sold, or merged Bellicose Capital into

Ascension Technologies, a subsidiary of Tribal Economic Development Holdings,

LLC, in an attempt to shield Bellicose Capital’s illegal business practices. Although

the nominal ownership of the company changed, Ascension Technologies

continues to funnel a significant amount of its income to Martorello and/or other

non-tribal members.6 Further, Ascension Technologies operates independent of

the Tribe with most of its business services and operations based in Atlanta,

Georgia and Puerto Rico. Ascension Technologies is a foreign limited liability

corporation licensed to do business, and doing business, in the State of Georgia.

Having designated a registered agent for service of process in Gwinnett County,




6 Zeke Faux, Payday Lenders on the Run, Bloomberg Business Week (Feb. 8, 2016)
(“Martorello is selling Bellicose to the tribe for just $1.3 million upfront, plus as
much as $300 million in future payments, depending on how the business does.”).


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Georgia, Ascension Technologies has agreed that it is amenable to suit in this

jurisdiction, and it has agreed to operate subject to the laws of this State. Ascension

Technologies does business in Gwinnett County, Lowndes County, and

throughout the State of Georgia and the United States.

      19. Defendant Daniel Gravel (“Gravel”) is a natural person and resident of

Leesburg, Virginia. Gravel was the general counsel for Bellicose Capital and was

one of the masterminds of the rent-a-tribe lending scheme described herein. As

early as August 2012, Gravel had direct personal involvement in the day-to-day

operations of the illegal enterprise and participated in the management of the legal

affairs of the company, including drafting and reviewing the software, financial,

payment processing, and servicing contracts that enabled the enterprise to

operate. Additionally, Gravel drafted and reviewed all advertising and marketing

materials for the enterprise and made the decisions regarding the legal content in

the websites and contracts. Gravel does business in Gwinnett County, Lowndes

County, and throughout the State of Georgia and the United States.

                          IV. FACTUAL ALLEGATIONS

   A. Victoria Renee McKoy

      20. On or about January 25, 2018, Victoria Renee McKoy applied online for

a short-term loan from her residence in Gwinnett County, Georgia.




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      21. Shortly after completing an online application, a Big Picture Loans

representative called Ms. McKoy, informed her that she was eligible for an $800

loan, and noted that she would be making payments of $189.08 every two weeks.

      22. The Big Picture Loans representative did not explain that the annual

percentage rate for her loan would be 556.63% or that the anticipated finance

charges for her loan would be a total of $1,657.82.

      23. During the same call from the Big Picture Loans representative, Ms.

McKoy was sent an email with an internet link that would enable her to complete

the loan application process.

      24. The Big Picture Loans representative made sure that Ms. McKoy

digitally signed the loan document and returned/submitted it before she got off

the phone.

      25. The Big Picture Loans representative did not explain the terms of the

loan agreement, and knew that Ms. McKoy could not have read the six-page

document.

      26. Ms. McKoy was not aware that, according to the terms of her loan, she

was purportedly waiving her rights as a Georgia consumer under the loan.

      27. On or about January 25, 2018, Ms. Lovins received a deposit into her

account for $800.




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      28. From February 9 through May 5, 2018, Big Picture Loans deducted six

payments of $189.08 from Ms. McKoy’s account for a total of $1,323.56 in

repayment of the loan.

      29. Thereafter, Ms. Lovins learned that Big Picture Loans applied almost all

of her payments as interest. According to Big Picture Loans, Ms. Lovins reduced

her loan balance from $800 to roughly $600, after payments of $1,323.56.

   B. Desiree Wright Lovins

      30. On or about December 30, 2017, Desiree Wright Lovins applied online

for a short-term loan from her residence in Lowndes County, Georgia.

      31. Ms. Lovins filled out the application in the name of “Desiree Wright,”

which was her name before marriage and the name recognized by her bank.

      32. Shortly after completing an online application, Ms. Lovins received a

call from a Big Picture Loans representative.

      33. The Big Picture Loans representative told Ms. Lovins that she was

eligible for, and would receive, a loan of $300 and that her repayment would be in

the amount of $145.12 deducted from her account every month.

      34. The Big Picture representative did not explain that the annual

percentage rate for her loan would be 591.46% or that the anticipated finance

charges for her loan would be a total of $1,005.84.




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      35. During the same call from the Big Picture Loans representative, Ms.

Lovins was sent an email with an internet link for her to complete the loan

application process.

      36. The Big Picture Loans representative made sure that Ms. Lovins

digitally signed the loan agreement and returned/submitted it before she got off

the phone.

      37. The Big Picture Loans representative did not explain the terms of the

loan agreement and knew that Ms. Lovins could not have had time to read them.

      38. Ms. Lovins was not aware that, according to the terms of her loan, she

was purportedly waiving her rights as a Georgia consumer under the loan.

      39. On or before January 5, 2018, Ms. Lovins received a deposit into her

account for $300, the loan amount.

      40. From February 1 through June 1, 2018, Big Picture Loans deducted five

payments of $145.12 from Ms. Lovins’ account, for a total of $725.60 in repayment

of the loan.

      41. Thereafter, Ms. Lovins learned that Big Picture Loans applied almost all

of her payments as interest on her $300 loan. According to Big Picture Loans, Ms.

Lovins still owes them approximately $200 after timely payments of $725.60.

      42. On June 8, 2018, Ms. Lovins called Big Picture Loans and demanded that

the lender stop taking automatic withdrawals from her account.



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                            V. CLASS ALLEGATIONS

   A. Georgia Consumer Finance Laws and Licensing Requirements Protect
      Georgia Residents from Defendants’ Predatory Lending Practices

      1. Georgia’s Payday Lending Act Prohibits Abusive Payday Lending
         Practices

      43. The State of Georgia has taken aggressive measures to protect Georgia

residents from predatory lending practices.

      44. “[I]n the State of Georgia the practice of engaging in activities commonly

referred to as payday lending, deferred presentment services, or advance cash

services and other similar activities are currently illegal,” and to prohibit such

lending practices, the state has imposed “substantial criminal and civil penalties.”

GA. CODE ANN. § 16-17-1(c) and (e).

      45. Sections 16-17-1 through 16-17-10 of the Georgia Code are commonly

referred to as the “Payday Lending Act”; however, the statute applies not only to

what is commonly referred to as “payday lending” but to any business that

involves the lending of $3,000 or less unless the loan falls within the exceptions set

forth in section 16-17-2, none of which apply in this case. GA. CODE ANN. § 16-17-

2. See also Western Sky Financial, LLC v. State ex rel. Olens, 300 Ga. 340, 343, 793

S.E.2d 357, 363 (2016).

      46. Although other Georgia statutes impose interest rate limits, licensure

requirements, and other restrictions on consumer lending practices, the Payday




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Lending Act is intended as an additional deterrent to high-interest, short-term

lending practices. Western Sky Financial, LLC, 300 Ga. at 343, 793 S.E.2d at 363.

      47. The Payday Lending Act prohibits lenders from using “mail, electronic

means, the Internet, or telephonic means” to make consumer loans. GA. CODE

ANN. § 16-17-2(a).

      48. Non-bank lenders outside of the state of Georgia are regulated by the

Payday Lending Act. Western Sky Financial, LLC, 300 Ga. at 344, 793 S.E.2d at 364.

      49. Violation of the Payday Lending Act, even by an out-of-state lender, is

an explicit violation of the statute and renders the loan void. GA. CODE ANN. §§

16-17-2, 16-17-3.

      50. The Payday Lending Act prohibits lenders from enforcing choice of law

provisions, venue provisions, and unconscionable arbitration provisions. GA.

CODE ANN. § 16-17-2(c)(1) (“A payday lender shall not include in any loan contract

made with a resident of this state any provision by which the laws of a state other

than Georgia shall govern the terms and enforcement of the contract, nor shall the

loan contract designate a court for the resolution of disputes concerning the

contract other than a court of competent jurisdiction in and for the county in which

the borrower resides or the loan office is located.”); GA. CODE ANN. § 16-17-2(c)(2)

(addressing unconscionable arbitration provisions).




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      51. The Georgia Supreme Court has found that out-of-state lenders cannot

circumvent the Payday Lending Act by drafting “an agreement to contract around

it.” Western Sky Financial, LLC, 300 Ga. at 347, 793 S.E.2d at 366.

      52. For loans that are made in violation of Section 16-17-2, the lender is

barred from collecting on the indebtedness, because such transactions are “void ab

initio.” GA. CODE ANN. § 16-17-3.

      53. Additionally, the lender shall be held liable to the borrower “in each

unlawful transaction for three times the amount of any interest or other charges to

the borrower.” GA. CODE ANN. § 16-17-3.

      54. Georgia law specifically empowers borrowers to pursue their civil

remedies individually or “on behalf of an ascertainable class of borrowers.” GA.

CODE ANN. § 16-17-3.

      55. In a successful action to enforce the provisions of the Payday Lending

Act, “a court shall award a borrower, or class of borrowers, costs including

reasonable attorneys’ fees.” GA. CODE ANN. § 16-17-3.

      2. Georgia’s Industrial Loan Act

      56. “The purpose of [the Georgia Industrial Loan Act] is to authorize and

provide regulation of the business of making loans of $3,000.00 or less and to bring

within the regulation of [the Act] and within its provisions all loans of $3,000.00 or

less, whether or not made by a person organized or operating under the provisions



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and authority of some other statute, except those persons and loans expressly

exempted by the terms of this chapter.” GA. CODE ANN. § 7-3-2.

         57. A lender must be licensed to make loans of $3,000.00 or less at an interest

rate exceeding eight percent (8%) unless the loan transaction is specifically

exempted by the terms of the Industrial Loan Act. GA. CODE ANN. §§ 7-3-5, 7-3-6,

7-3-8.

         58. The loans that are the subject of this litigation are subject to regulation

by the Georgia Industrial Loan Commissioner. GA. CODE ANN. § 7-3-6.

         59. The loans that are the subject of this litigation do not fall within any of

the exemptions of the Georgia Industrial Loan Act. GA. CODE ANN. § 7-3-6.

         60. If an unlicensed lender makes a loan in violation of the Georgia

Industrial Loan Act, the loan is “null and void.” GA. CODE ANN. § 7-3-29(a). Stated

differently, where, as here, a business is not licensed to lend or collect on a loan to

Georgia consumers, the entity may not receive or retain any proceeds from the

loan, including repayment of the principal or any interest or other compensation

as a result of the loan.

         61. The Georgia Industrial Loan Act specifically provides that borrowers

may prosecute claims for violation of the Industrial Loan Act against an unlicensed

lender in a class action. GA. CODE ANN. §§ 7-3-29(e), 9-11-23.




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    B. Overview of Defendants’ Enterprise

      62. Over the last decade, businesses have sought to evade state lending laws

by entering into ventures with Native American tribes “so they can use tribal

immunity as a shield for conduct of questionable legality.” Michigan v. Bay Mills

Indian Cmty., 134 S. Ct. 2024, 2052 (2014) (Scalia, J., dissenting) (citing Nathalie

Martin & Joshua Schwartz, The Alliance Between Payday Lenders and Tribes: Are Both

Tribal Sovereignty and Consumer Protection at Risk? 69 Wash. & Lee L. Rev. 751, 758–

759, 777 (2012)).

      63. Defendant Martorello recognized the exorbitant profits he could achieve

by not complying with state usury laws and making high interest loans to

desperate and vulnerable consumers, many of whom are Georgia residents.

      64. Through Bellicose Capital, Martorello and Gravel established a rent-a-

tribe business model with the Tribe. They assisted the Tribe in forming Big Picture

Loans as a “business enterprise” of the Tribe, which then claimed to be “wholly

owned” and “operated as an instrumentality of the Tribe.”7




7See, e.g., Lac Vieux Desert Band of Lake Superior Chippewa Indians, Resolution
# T2014-066, Approving the Creation of the Wholly Owned and Operated Lending
Entity—Big         Picture      Loans,      LLC       (Aug.     26,      2014),
http://www.lvdtribal.com/pdf/BPL%20Organizing%20Documents.pdf              (last
viewed June 27, 2018).


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      65. According to tribal records, “all information and records of Big Picture

are confidential,” so the agreements and business operations among Defendants

have not yet been fully disclosed.

      66. Upon information and belief, the Tribe has had no direct control over

the income or expenses of Big Picture Loans.

      67. Although the Tribe holds itself out as the actual lender of the internet

payday loans, the Tribe is merely a front. The Tribe allowed Defendants to use its

name and, in return, received a nominal percentage of the revenue.8 Bellicose

Capital provided the infrastructure and investment capital to market, fund,

underwrite, and collect the loans, including by providing the following services:

lead generation, technology platforms, payment processing, and collection

procedures.

      68. Moreover, nearly all activities performed on behalf of Big Picture Loans

were performed by officers and employees of Bellicose Capital, now Ascension

Technologies, who were not located on the Lac Vieux Reservation. On information




8 Zeke Faux, Payday Lenders on the Run, Bloomberg Business Week (Feb. 8, 2016)
(“[Matt Martorello’s] company, Bellicose Capital, helps an American Indian tribe
in Michigan run websites that offer small loans to the public at annualized interest
rates as high as 780 percent. Bellicose has collected tens of millions of dollars, with
the tribe keeping about 2 percent of the revenue….”).


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and belief, Bellicose Capital employees were located in the Virgin Islands, Puerto

Rico, and the Philippines.

      69. On information and belief, Bellicose Capital handled the lead generation

used to identify and solicit potential consumers.9 Bellicose Capital’s lead

generation procedures were developed by Martorello and Gravel.

      70. On information and belief, if a consumer called the number on the letter,

he or she would reach a call center in the Philippines, who took direction and

instructions from Bellicose Capital and not the Tribe.

      71. In January 2016, due to various lawsuits against Martorello’s

competitors and anticipated regulation from the Consumer Financial Protection

Bureau (“CFPB”), Martorello transferred or sold Bellicose Capital in an attempt to

shield Bellicose Capital’s illegal business practices. Bellicose was re-branded as

Ascension Technologies, which continues to operate with minimal tribal

involvement or benefit to the Tribe.



9 In order to find potential customers, internet lenders pay companies known as
“lead generators,” which are businesses that collect information on potential
consumers to solicit for high-interest loans. Pew Charitable Trust, Fraud and Abuse
Online: Harmful Practices in Internet Payday Lending (Oct. 2014),
http://www.pewtrusts.org/-/media/assets/2014/10/payday-lending-
report/fraud_and_abuse_online_harmful_practices_in_internet_payday_lending
.pdf (last visited June 27, 2018). Lead generators pay high fees to several sources,
such as consumer reporting agencies, to acquire borrower information to
determine whether a consumer has ever applied or received an internet loan or
whether a consumer may be in need or qualify for an additional loan. Id.


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      72. As part of this arrangement, the Tribe paid Martorello $1.3 million

dollars, plus he is entitled to receive as much as $300 million in future payments.

Faux, supra notes 2, 6. Through several corporate shells, Martorello is receiving

variable, non-regular payments that may total $300 million over the course of

seven years. According to a press release by the Tribe, each of the annual payments

to Martorello’s company will “build additional equity in its own lending support

business.”10 Thus, the Tribe acknowledges that it does not own all of the equity in

the company. With the purchase structured so that Martorello’s company

continues to receive substantial profits, the Tribe continues to receive only a

modest fee in return for the use of its name.

      73. And while it is now purportedly organized under the laws of the Tribe,

Ascension Technologies continues to operate in the same manner and with several

of the same individuals who ran Bellicose Capital—none of whom appear to be

affiliated with the Tribe.

      74. Upon information and belief, tribal members do not participate in the

day-to-day operations of Ascension Technologies and Big Picture Loans, and

nearly all the activities associated with these companies occurred off the Tribe’s




10 https://www.prnewswire.com/news-releases/lac-vieux-desert-band-of-lake-
superior-chippewa-indians-bolsters-tribal-economic-development-portfolio-
with-purchase-of-bellicose-capital-llc-300210679.html (last visited June 27, 2018).


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reservation, such as the office management, business development, internet

marketing, call centers, payment processing, and servicing of the loans.

         75. For example, approximately 20 individuals identify Ascension

Technologies as their employer on LinkedIn; however, none of these people are

located on the reservation. https://www.linkedin.com/search/results/index/

?keywords=%22ascension%20technologies%22&origin=GLOBAL_SEARCH_HE

ADER (last visited June 27, 2018).

         76. Three LinkedIn members claim an ownership interest in Defendant

Ascension Technologies. None of these owners are residents on tribal land.

Instead, the alleged owners are located near Phoenix, Arizona, Green Bay,

Wisconsin,     and   Jackson,   Mississippi.   https://www.linkedin.com/search/

results/people/?facetCurrentCompany=%5B%2212899424%22%5D&keywords=

ascension%20technologies%20owner&origin=GLOBAL_SEARCH_HEADER (last

visited June 27, 2018).

         77. Additionally, the Defendant’s CEO claims to be located near Kansas

City, Missouri:




https://www.linkedin.com/in/james-birch-642a805b/ (last visited June 27,

2018).



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      78. The company’s co-founder is in the New York City area:




https://www.linkedin.com/in/bob-clyne-90b15a/ (last visited June 27, 2018).

      79. The Facebook page for Ascension Technologies lists Atlanta, Georgia as

its place of business.




https://www.facebook.com/pages/Ascension-Technologies-

LLC/1151747724868477 (last visited June 27, 2018).

      80. Ascension Technologies is a foreign limited liability company certified

to do business, in the State of Georgia. The Certificate of Authority was issued by

the Secretary of State for the State of Georgia on August 9, 2016, and the annual

registration for the company was most recently reissued on March 8, 2018.

      81. Ascension Technologies has designated Lynda Galler of Duluth,

Gwinnett County, Georgia as its registered agent for service of process in the state.

      82. Having designated a registered agent for service of process in Georgia,

Ascension Technologies has agreed that it is amenable to suit in this jurisdiction,

and it has agreed to operate subject to the laws of this State.




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      83. According to its employees’ LinkedIn pages, Ascension Technologies

conducts its risk analysis, database development, analytics, database marketing,

strategic marketing, digital marketing, information technology, and information

security in Atlanta, Georgia. At least two corporate vice presidents work in

Atlanta.




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https://www.linkedin.com/search/results/people/?facetGeoRegion=%5B%22u

s%3A52%22%5D&keywords=%22ascension%20technologies%22&origin=FACET

ED_SEARCH (last visited June 27, 2018).

      84. In Puerto Rico, where Martorello claims his residence, Ascension

Technologies has additional business operations. 11 According to the LinkedIn

pages of its employees, corporate office management for Ascension Technologies

occurs from Puerto Rico. Additionally, the company’s predictive modeling, data

science, and compliance testing are conducted in Puerto Rico. James Dowd, one of

the corporate vice presidents of Ascension Technologies, is located in Puerto Rico;

Mr. Dowd was formerly a director of Bellicose Capital.

      85. Ascension Technologies’ director of business development is located in

Chattanooga, Tennessee, and on his LinkedIn page, he describes the company’s

business as follows:




11https://www.linkedin.com/search/results/people/?facetCurrentCompany
=%5B%2212899424%22%5D&keywords=ascension%20technologies%20puerto%2
0rico&origin=GLOBAL_SEARCH_HEADER (last visited June 27, 2018);
https://www.linkedin.com/search/results/people/?facetCurrentCompany=%5
B%2212899424%22%5D&keywords=ascension%20technologies%20manager&ori
gin=GLOBAL_SEARCH_HEADER (last visited June 27, 2018).


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https://www.linkedin.com/in/ben-u-63532012/ (last visited June 27, 2018).

      86. Ascension Technologies’ vice president of marketing in Atlanta

describes her position as follows:




https://www.linkedin.com/in/lorialsterberg/ (last visited June 27, 2018).

      87. Ascension Technologies’ director of digital marketing in Atlanta

describes his position at the company as follows:




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https://www.linkedin.com/in/mike-richardson-9048204/ (last visited June 27,

2018).

         88. Upon information and belief, none of Ascension Technologies’

employees, referenced above, are members of the Tribe.

         89. Nearly all of the activities of Ascension Technologies are performed by

these non-tribal members who are located off the reservation.




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   C. Defendants’ Lending Practices Violated Georgia Law

      90. Defendants were aware that Georgia law prohibits unlicensed lenders

from making loans for less than $3,000 at interest rates exceeding eight percent.

      91. Based on information and belief, Defendants knew that their lending

practices were at interest rates that greatly exceeded the maximum interest rates

as set by state usury laws and payday lending laws.

      92. Through advertising and marketing, Defendants targeted Georgia

consumers for their lending practices, including the loans to Plaintiffs.

      93. Martorello and Gravel chose Georgia as a place where loans and

collection efforts would ensue, and they participated in and knew of the actions of

the other Defendants in Georgia.

      94. Martorello and Gravel knew the subject loans were illegal under

Georgia law, but they pursued the scheme anyway through Big Picture Loans and

Bellicose.

      95. In order to qualify for Defendants’ loan product, Georgia consumers

were required to electronically sign a form contract created by Defendants—not

created by the Tribe.

      96. Under the terms of the standard loan agreement, the interest rates

charged were significantly greater than the maximum legal rate that can be

charged under Georgia law.



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      97. For example, Defendants loaned $800 to Victoria Renee McKoy with

interest at an annual percentage rate (“APR”) of 556.63%, and they loaned $300 to

Desiree Wright Lovins at an APR of 591.46%.

      98. At all times relevant to this litigation, none of the Defendants had a

consumer finance license permitting them to make loans in Georgia. See Ga. Code

Ann §§ 7-3-5, 7-3-6, 7-3-8. The Tribe also did not have a consumer finance license

in Georgia.

      99. Based on information and belief, the Defendants have never attempted

to obtain a license to become a lender under Georgia law.

      100.    Accordingly, Defendants’ loans to Georgia residents are null and

void, and it was unlawful for Defendants or any of their affiliated entities to collect

or receive any principal or interest on the loans, including the amounts paid by

Plaintiffs. See ¶¶ 44-65, supra.

   D. Defendants’ Loan Agreements, Including Choice-of-Law, Dispute
      Resolution, and Class Action Waiver Provisions, Are Void and/or
      Unenforceable

      101.    Because the loans were made and collected without a consumer

finance license and charged an interest rate in excess of the maximum rate

permitted under Georgia law, the agreements are void and unenforceable.

      102.    Defendants’ loan agreement not only violates Georgia’s Payday

Lending Act, its Industrial Loan Act, and the public policy against usurious loans,



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but it also contains unconscionable and unenforceable choice of law and forum

selection provisions that seek to disclaim laws and legal rights and ultimately

deprive consumers of their day in court.

      103.   For example, Defendants’ Loan Agreement with Plaintiffs provides:


             GOVERNING LAW AND FORUM SELECTION: This
             Agreement will be governed by the laws of the Lac Vieux
             Desert Band of Lake Superior Chippewa Indians (“Tribal
             law”), including but not limited to the Code as well as
             applicable federal law. All disputes shall be solely and
             exclusively resolved pursuant to the Tribal Dispute
             Resolution Procedure set forth in Section 9 of the Code
             and summarized below for Your convenience.

             SOVEREIGN IMMUNITY: This Agreement and all
             related documents are being submitted by You to Big
             Picture Loans, LLC at its office on Tribal land. The
             Lender      is   an   economic      development      arm,
             instrumentality, and limited liability company wholly
             owned and operated by the Tribe. The Tribe is a federally
             recognized Indian Tribe and is generally immune from
             suit as a sovereign nation unless such immunity is
             waived by the Tribe in accordance with Tribal law or
             abrogated by applicable federal law (“tribal sovereign
             immunity”). Because the Tribe and Lender are entitled to
             tribal sovereign immunity, You will be limited in what
             claims, if any, You may be able to assert against both the
             Tribe and Us. To encourage resolution of consumer
             complaints as well as provide an authorized method of
             dispute resolution for consumers, pursuant to Section 9
             of the Code, all complaints lodged, filed, or otherwise
             submitted by You or on Your behalf must follow the
             Tribal Dispute Resolution Procedure, as described
             herein.




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    PRESERVATION OF SOVEREIGN IMMUNITY: It is
    the express intention of the Tribe and Lender, operating
    as an economic arm-of-the-tribe, to fully preserve, and
    not waive either in whole or in part, exclusive
    jurisdiction, sovereign immunity, and any other rights,
    titles, privileges, and immunities, to which they are
    entitled including the tribal sovereign immunity of the
    Tribe and Lender. To protect and preserve the rights of
    the parties, no person may assume a waiver of immunity
    exists except by express written resolution of the Tribe’s
    Tribal Council specifically authorizing such a waiver as
    required by Article XIII of the Tribe's Constitution
    specifically for the matter in question.

    TRIBAL DISPUTE RESOLUTION PROCEDURE: The
    Tribe has established a Tribal Dispute Resolution
    Procedure (the “Procedure”) to review and consider any
    and all types of complaints made by you or on your
    behalf relating to or arising from this Agreement. . . . The
    Tribe and Lender intend and require, to the extent
    permitted by Tribal law, that any complaint lodged,
    filed, or otherwise submitted by You or on Your behalf
    to follow the Procedure. Under the Procedure, if You in
    the course of Your otherwise lawful and proper use of
    Lender’s business believe Yourself to be harmed by some
    aspect of the operation of any part of Lender’s business,
    You must direct Your concerns or dispute to Lender in
    writing. Your complaint to the Lender shall be
    considered similar in nature to a petition for redress
    submitted to a sovereign government, without waiver of
    tribal sovereign immunity and exclusive jurisdiction,
    and does not create any binding procedural or
    substantive rights for a petitioner. The Lender will
    investigate the complaint and respond as soon as
    reasonably practicable, but no later than thirty (30) days
    from the receipt of Your written complaint. In the event
    that You are dissatisfied with the Lender’s
    determination, You may initiate Formal Dispute
    Resolution by requesting an administrative review of
    Lender’s determination by submitting such request in


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             writing to the Tribal Financial Services Regulatory
             Authority (“Authority”), P.O. Box 249, Watersmeet, MI
             49969, no later than ninety (90) days after receiving
             Lender’s determination. The Authority may hold an
             administrative review hearing, if requested by You or
             Us, which will occur within sixty (60) days after the
             Authority receives Your written request. The Authority
             will send notice to You and Us when a request for a
             hearing is granted or denied. At any such hearing, You
             may be represented by legal counsel at Your own
             expense. You may appeal an Authority decision and
             order by filing a written petition for review with the
             Tribal Court within ninety (90) days after the Authority
             issued its decision and order.
(McKoy Loan Agreement, attached as Exh. 1, at 4–5; Lovins Loan Agreement,

attached as Exh. 2, at 4-5.)

      104.   Upon information and belief, the governing law and forum selection

clauses were template language included in all loan agreements involving Big

Picture Loans.

      105.   The foregoing provisions are illegal under Georgia law. GA. CODE

ANN. §§ 7-3-29(e), 9-11-23, 16-17-2(c)(1), 16-17-2(c)(2).

      106.   Defendants’       loan   agreement    contains    unconscionable   and

unenforceable choice-of-law and forum selection provisions that seek to disclaim

federal and state laws in favor of Tribal law.

      107.   Defendants’ choice-of-law provision is unenforceable as a matter of

federal law because it purports to disclaim all federal law.




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        108.   Defendants’ choice-of-law provision is unenforceable as a matter of

Georgia law because it purports to disclaim the application of any state law.

        109.   Likewise, the forum selection clause is also unenforceable because it

deprives Georgia borrowers of any forum to bring state or federal law claims.

        110.   The loan agreement disclaims that Plaintiffs and the Class have any

right to pursue either litigation or arbitration by a neutral third party. (March 6,

2018 Loan Agreement, attached as Exh. 1, at 5. (“NO LITIGATION OR

ARBITRATION IS AVAILABLE”) (emphasis in original).)

        111.   Instead, the Tribal Dispute Resolution Procedure only purports to

allow consumers to follow a “Formal Dispute Resolution” with the Tribal

Financial Services Regulatory Authority and the Tribal Court. (Id.)

        112.   The Tribal Dispute Resolution Procedure states that consumers do not

have “any binding procedural or substantive rights” against Big Picture Loans.

(Id.)

        113.   The Formal Dispute Resolution is a sham because the Tribal Financial

Services Regulatory Authority does not have subject matter jurisdiction to

consider: (1) any claims brought under state or federal law or (2) claims regarding

the legality of the debt. Tribal Fin. Servs. Auth. Comm’n Regs., Reg. 1.1(B)(4),

available at http://www.lvdtribal.com/pdf/TFSRA-Regulations.pdf (last visited

June 27, 2018).



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      114.   Specifically, the Regulations indicate that the Tribal Financial Services

Regulatory Authority will not “grant the consumer an opportunity be heard” if

the only allegation is that the loan “is illegal in a jurisdiction outside the

jurisdiction of the Tribe.” Id., Reg. 1.1(B)(4)(b).

      115.   Further, the Regulations only provide that the Tribal Financial

Services Regulatory Authority may “resolve the dispute in favor of the consumer

upon a finding that the [tribal entity] violated a law or regulation of the Tribe.”

Id., Reg. 1.1(B)(4)(c) (emphasis added).

      116.   Defendants’ loan agreement violates Tribal law, which requires that

the following provisions must be conspicuous: “Governing Law and Forum

Selection,” “Sovereign Immunity,” and “Preservation of Sovereign Immunity.”

Specifically, under Tribal law, each of these paragraphs must be included “in bold

or all caps and conspicuously placed.” Tribal Cons. Fin. Servs. Reg. Code § 7.2(a);

Tribal Fin. Servs. Auth. Comm’n Regs., Reg. 1.5(B) (emphasis added), available at

http://www.lvdtribal.com/pdf/TFSRA-Regulations.pdf (last visited June 27,

2018). None of the provisions were conspicuous in the subject loan.

      117.   Defendants’ governing law clause is unenforceable because it violates

public policy concerns in Georgia and was procured through fraud and

misrepresentations, including that Big Picture Loans was “wholly owned and

operated by the Tribe.”



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       118.   These statements were false, misleading, and designed to create the

appearance that consumers were doing business with a neutral, government-like

entity.

       119.   In reality, the loans were owned and/or operated by non-tribal

members, including Ascension Technologies, who funded the loans, controlled the

underwriting, and handled the day-to-day operations of the businesses, including

the interactions with consumers and collections.

       120.   Through the Tribal regulatory code and class action waiver provision,

Defendants also seek to deprive borrowers of any just and cost-effective means of

seeking redress for Defendants’ wrongful acts.

       121.   The Tribal regulatory code prohibits an award of attorneys’ fees or

costs to the borrower, if she were to prevail in the Tribe’s formal dispute resolution

procedure. Tribal Cons. Fin. Servs. Regulatory Code § 9.3(i). Big Picture Loans, on

the other hand, is permitted to recover attorneys’ fees and reasonable costs for the

collection of a debt. Id., § 7.2(c).

       122.   Similarly, the loan agreement seeks to strip Plaintiffs of the

opportunity to pursue their claims as a class action. (McKoy Loan Agreement,

attached as Exh. 1, at 5; Lovins Loan Agreement, attached as Exh. 2, at 5 (“All

disputes including any Representative Claims against Us and related third parties

shall be resolved by the TRIBAL DISPUTE RESOLUTION PROCEDURE only on



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an individual basis with You as provided for pursuant to Tribal law.”) (emphasis

in original).)

       123.      Defendants’ class-action waiver is unenforceable under Georgia law.

GA. CODE ANN. §§ 7-3-29(e), 9-11-23, 16-17-2(c)(1).

       124.      In essence, Defendants use the forum selection and choice of law

clauses to convert the terms of the loan agreement into “a choice of no law clause.”

Hayes v. Delbert Servs. Corp., 811 F.3d 666, 675 (4th Cir. 2016).

   E. Class Definitions

       125.      Plaintiffs bring this action on their own behalf and as a class action

pursuant to Federal Rule of Civil Procedure 23 for the following Class:

                 All persons: (1) who executed a loan with Big Picture

                 Loans, (2) when they resided or were located in Georgia,

                 (3) where the loan was originated and/or any payment

                 was made on or after July 3, 2014.

       126.      Numerosity. Fed. R. Civ. P. 23(a)(1). Upon information and belief,

Plaintiffs allege that the Class members are so numerous that joinder of all is

impractical. The names and addresses of the Class members are identifiable

through the internal business records maintained by Defendants, and the Class

members may be notified of the pendency of this action by published and/or

mailed notice.



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      127.   Predominance of Common Questions of Law and Fact. Fed. R. Civ.

P. 23(a)(2) & (b)(3). Common questions of law and fact exist as to all members of

the Class. These questions predominate over the questions affecting only

individual Class members. These common questions include, as to the Class:

      (a) whether the choice-of-law, forum selection, dispute resolution,

         and class action waiver provisions in Defendants’ loan agreement

         violate Georgia law, offend public policy interests, and should be

         deemed unenforceable;

      (b) whether the Defendants were licensed to make loans to Georgia

         residents;

      (c) whether the failure to obtain the license renders the loans to

         Plaintiffs and the class members void and/or unenforceable;

      (d) whether the loans made by Defendants violated the Payday

         Lending Act, as previously alleged. Ga. Code Ann. §§ 17-16-1, et

         seq.;

      (e) whether the loans made by Defendants violated the Georgia

         Industrial Loan Act, as previously alleged. Ga. Code Ann. §§ 7-3-

         1, et seq.;

      (f) whether the Defendants participated in an enterprise under

         RICO;



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      (g) whether the loans to Georgia residents included interest rates at

          more than twice the legal maximum APR, in violation of Georgia

          usury laws;

      (h) whether Plaintiffs and the class members conferred a benefit on

          Defendants because of their payments of principal and interest on

          Defendants’ void and unenforceable loans;

      (i) whether Defendants knew or should have known of the benefit

          conferred;

      (j) whether Defendants retained an unjust benefit because the loan

          was void;

      (k) whether the Defendants violated the elements of 18 U.S.C. §

          1962(c), as previously alleged;

      (l) whether the Defendants entered into a series of agreements to

          violate § 1962(c); and

      (m) what is the proper recovery for Plaintiffs and the Class members

          against each Defendant.

      128.   Typicality. Fed. R. Civ. P. 23(a)(3). Plaintiffs’ claims are typical of the

claims of each Class member. In addition, Plaintiffs are entitled to relief under the

same causes of action as the other members of the Class. All are based on the same

facts and legal theories.



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      129.   Adequacy of Representation. Fed. R. Civ. P. 23(a)(4). Plaintiffs are

adequate representatives of the Class because their interests coincide with, and are

not antagonistic to, the interests of the members of the Class they seek to represent;

they have retained counsel competent and experienced in such litigation; and they

have and intend to continue to prosecute the action vigorously. Plaintiffs and their

counsel will fairly and adequately protect the interests of the members of the Class.

Neither Plaintiffs nor their counsel have any interests which might cause them not

to vigorously pursue this action.

      130.   Superiority. Fed. R. Civ. P. 23(b)(3). Questions of law and fact

common to the Class members predominate over questions affecting only

individual members, and a class action is superior to other available methods for

fair and efficient adjudication of the controversy. Litigating the validity and

enforceability of each loan agreement would prove burdensome and expensive. It

would be virtually impossible for members of the Class individually to effectively

redress the wrongs done to them. Even if the members of the Class themselves

could afford such individual litigation, it would be an unnecessary burden on the

Courts. Furthermore, individualized litigation presents a potential for inconsistent

or contradictory judgments and increases the delay and expense to all parties and

to the court system presented by the legal and factual issues raised by Defendants’

conduct. By contrast, the class action device will result in substantial benefits to



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the litigants and the Court by allowing the Court to resolve numerous individual

claims based upon a single set of proof in a case.

      131.   Injunctive Relief Appropriate for the Class. Fed. R. Civ. P. 23(b)(2).

Class certification is also appropriate because Defendants have acted on grounds

generally applicable to the Class, making appropriate equitable, injunctive relief

with respect to Plaintiffs and the Class members. Plaintiffs and the Class seek an

injunction prohibiting Defendants from collecting any further amounts from

Georgia consumers in connection with their loans, requiring Defendants to

provide notice to consumers that the loans are unenforceable, and requiring

Defendants to delete any derogatory reporting on tradelines to the credit bureaus

or other consumer reporting agencies, as well as ordering Defendants to divest

themselves of any interest in any enterprise pled herein, including the receipt of

racketeering profits; prohibiting Defendants from continuing to engage in any

enterprise pled herein; and ordering the dissolution of each Defendant that has

engaged in any enterprise pled herein.

                            VI. CAUSES OF ACTION

                COUNT ONE – DECLARATORY JUDGMENT

      132.   Plaintiffs incorporate each of the allegations in the preceding

paragraphs as if restated here.




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      133.   Defendants’ loan agreement contains illegal and unconscionable

choice of law, forum selection, class action waiver, and dispute resolution

provisions that violate Georgia law and are void and unenforceable for public

policy concerns.

      134.   The dispute is a justiciable matter that is not speculative, and a

resolution by this Court will determine the rights and interests of the parties to the

Loan Agreement as well as the validity, if any, of the choice of law, forum

selection, class action waiver, and dispute resolution provisions.

      135.   Pursuant to 28 U.S.C. § 2201, there is an actual justiciable controversy,

and a declaratory judgment is the appropriate mechanism for resolving the

validity and enforceability of the Loan Agreement.

      136.   Accordingly, Plaintiffs, on behalf of themselves and all others

similarly situated, seek a declaratory judgment that the choice of law, forum

selection, class action waiver, and dispute resolution provisions are void and

unenforceable as to Georgia residents because such terms (a) violate Georgia law,

and (b) are unconscionable and contrary to matters of public policy.

       COUNT TWO – VIOLATIONS OF GEORGIA LENDING LAWS

      137.   Plaintiffs incorporate each of the allegations in the preceding

paragraphs as if restated here.




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        138.   In their loans to Georgia consumers, Defendants charged and

collected interest at a rate greater than the maximum legal rate of interest under

Georgia law.

        139.   Defendants made loans to Georgia consumers even though they are

not licensed to make loans in the State of Georgia.

        140.   In their loans to Georgia residents, including Plaintiffs and Class

members, Defendants violated the Payday Lending Act. GA. CODE ANN. §§ 16-17-

1, et seq.

        141.   In their loans to Georgia residents, including Plaintiffs and Class

members, Defendants violated the Georgia Industrial Loan Act. GA. CODE ANN.

§§ 7-3-1, et seq.

        142.   Plaintiffs and the Class Members seek a declaratory judgment that the

loans are void and unenforceable as a matter of law. GA. CODE ANN. § 16-17-2. The

dispute is a justiciable matter that is not speculative, and a resolution by this Court

will determine the rights and interests of the parties to the loan agreement.

Pursuant to 28 U.S.C. § 2201, there is an actual justiciable controversy, and a

declaratory judgment is the appropriate mechanism for resolving the validity and

enforceability of the Loan Agreement.

        143.   Because the loans at issue are void and unenforceable, Plaintiffs and

the Class request that the Court enter judgment against the Defendants jointly and



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severally for the recovery of all principal and interest paid to the Defendants under

the terms of the illegal loans and award damages equal to three times the amount

of any interest paid by the borrowers arising out Defendants’ loan transactions.

GA. CODE ANN. §§ 16-17-2, 16-17-3. Plaintiffs further seek the recovery of

attorneys’ fees and costs as well as all other relief which may be due and owing

under Georgia law.

      144.   Additionally, Plaintiffs and the Class request that the Court

permanently enjoin Defendants from violating the provisions of the Payday

Lending Act, including but not limited to:

             1. engaging in any business, in whatever form
                transacted, including but not limited to by mail,
                electronic means, the Internet, or telephonic means,
                that consists in whole or in part of making, offering,
                arranging, or acting as an agent in the making of loans
                of $3,000.00 or less in the State of Georgia;

             2. advertising, marketing, or soliciting in the State of
                Georgia for a business that consists in whole or in part
                of making, offering, arranging, or acting as an agent in
                the making of loans of $3,000.00 or less through any
                media, including but not limited to the Internet,
                television, print, and radio;

             3. collecting or attempting to collect payment of interest
                or principal pursuant to any loan agreement with any
                person in the State of Georgia;

             4. enforcing or attempting to enforce any loan agreement
                with any person in the State of Georgia in any court or
                other tribunal, including but not limited to the Tribal




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                authority of the Lac Vieux Desert Band of Lake
                Chippewa Indians; and

             5. selling or assigning any agreement for a non-mortgage
                loan of $3,000.00 or less between Defendants and any
                person residing in the State of Georgia to any third
                party.

      145.   Plaintiffs further request the Court enter an injunction prohibiting

Defendants from collecting any further amounts from Georgia consumers in

connection with their loans, requiring Defendants to provide notice to consumers

that the loans are unenforceable, and requiring Defendants to delete any

derogatory reporting on tradelines to the credit bureaus or other consumer

reporting agencies.

         COUNT THREE – VIOLATIONS OF RICO, 18 U.S.C. § 1962(c)

      146.   Plaintiffs incorporate each of the allegations in the preceding

paragraphs as if restated here.

      147.   At all relevant times, Big Picture Loans, LLC, Ascension

Technologies, LLC f/k/a Bellicose Capital, LLC, Matt Martorello, and Daniel

Gravel were members and associates of an internet payday lending enterprise,

whose members and associates engaged in the collection of unlawful debt.

      148.   The Defendants, including their leadership, membership, and

associates, constitute an “enterprise” as that term is defined in 18 U.S.C. § 1961(4)

– that is, a group of individuals and entities associated in fact.



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      149.   The enterprise is engaged in, and its activities affect, interstate

commerce. The Defendants’ leadership is based in Atlanta, Georgia, Denver,

Colorado, Chattanooga, Tennessee, and other locations as addressed in preceding

paragraphs. Defendants’ enterprise operates throughout the United States,

including the Northern District of Georgia, as well as in Puerto Rico and the

Philippines. Additionally, Defendants claim to do business on Tribal lands.

      150.   The Defendants work together as an ongoing organization whose

members function as a continuing unit for a common purpose of achieving the

enterprise’s objectives, namely the enrichment of the Defendants through the

advancement and collection of unlawful, usurious loans to desperate,

unsophisticated borrowers.

      151.   As alleged above, Defendants, along with other participants not yet

known to Plaintiffs, violated § 1962(c) of RICO through the “collection of unlawful

debt.” 18 U.S.C. § 1962(c).

      152.   RICO defines “unlawful debt” as a debt which was incurred in

connection with “the business of lending money or a thing of value at a rate

usurious under State or Federal law, where the usurious rate is at least twice the

enforceable rate.” 18 U.S.C. § 1961(6).

      153.   The means and methods by which the Defendants and other members

and associates conducted and participated in the conduct of the affairs of the



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enterprise was and continues to be the operation, direction, and control of the

payday loan company in the business of lending money at usurious rates under

the laws of numerous states, including Georgia, where the usurious rates charged

were at least twice the enforceable rate. Defendants were directly and materially

involved in this intentional misconduct. They knew the subject loans were illegal

under Georgia law, but they actively participated in the solicitation of borrowers

and the illegal lending enterprise anyway.

      154.   All of the loans made to Georgia residents and collected by

Defendants included an interest rate far in excess of twice the enforceable rate in

Georgia.

      155.   In operating and conducting the affairs of the enterprise, the

Defendants used proceeds from the collection of unlawful debt to further the

operations and objectives of the enterprise.

      156.   The predicate acts of collection of unlawful debt are described herein

and in particular in paragraphs 20-42 and 67-105 herein. The debts incurred by

Plaintiffs and all other members of the Class are unlawful and unenforceable.

      157.   The Defendants’ leadership, management, and participation in the

enterprise began at some point as early as 2011, following the formation of Red

Rock Tribal Lending, LLC, continued with the formation of Defendant Big Picture




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Loans in 2014, continues to date, and will occur repeatedly in the future to the

detriment of Georgia consumers.

      158.   Plaintiffs and the Class members were injured as a result of

Defendants’ violations of 18 U.S.C. § 1962(c). In particular, Plaintiffs and the Class

have been deceived, coerced, and harassed to pay extortionate and usurious

interest, as well as the principal, on unlawful debts. Accordingly, as a direct and

proximate cause of their violations of RICO, Defendants are jointly and severally

liable to Plaintiffs and the putative members of the Class for their actual damages,

treble damages, costs, and attorneys’ fees pursuant to 18 U.S.C. § 1964(c).

         COUNT FOUR – VIOLATIONS OF RICO, 18 U.S.C. § 1962(d)

      159.   Plaintiffs incorporate each of the allegations in the preceding

paragraphs as if set forth here.

      160.   Beginning as early as 2011, Defendants, as persons employed by and

associated with the aforementioned payday lending enterprise, along with other

participants not yet known to Plaintiffs, violated 18 U.S.C. § 1962(d) by willfully

and knowingly conspiring and entering into a series of agreements to violate §

1962(c) and Georgia’s usury laws—that is, to conduct and participate, directly and

indirectly, in the collection of unlawful debt. In addition, Defendants knowingly

entered into agreements to facilitate the development and management of the




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enterprise and engaged in overt acts to further the business interests of the

enterprise.

      161.    Defendants, along with other participants not yet known to Plaintiffs,

violated § 1962(d) of RICO by entering into a series of agreements to violate 18

U.S.C. § 1962(c). These agreements, include, inter alia: (a) agreements between and

among Defendants, including their predecessors in interest, Red Rock Tribal

Lending, LLC and Bellicose Capital, to create the necessary legal frameworks and

entities to conduct the affairs of the lending enterprise; (b) agreements between

and among Defendants to provide the necessary funds to conduct and expand the

affairs of the lending enterprise; (c) agreements between and among Defendants

to investigate and solicit investors in furtherance of the affairs of the lending

enterprise; (d) agreements between and among Defendants to generate high-

interest loans to desperate borrowers, including residents of Georgia; (e)

agreements between and among Defendants to refinance the lending enterprise,

including the agreement for the acquisition of Bellicose Capital and the continued

payments to Martorello; and (f) agreements between and among the Defendants

and unknown third parties to further conduct the affairs of the Defendants’

lending enterprise.




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      162.    Each of the agreements identified in the preceding paragraph

contemplated that a conspirator would commit at least one collection of unlawful

debt in the conduct and furtherance of the affairs of the enterprise.

      163.    As a result of Defendants’ participation in the enterprise and

violations of RICO, Defendants are jointly and severally liable to Plaintiffs and the

Class members for their actual damages, treble damages, costs, and attorneys’ fees

pursuant to 18 U.S.C. § 1964(c).

             COUNT FIVE - VIOLATIONS OF GEORGIA RICO ACT
                          GA CODE ANN. § 16-14-4(a)

      164.    Plaintiffs incorporate each of the allegations in the preceding

paragraphs as if restated here.

   A. Georgia RICO Act

      165.    The Georgia RICO Act was enacted by the state legislature to impose

criminal penalties against those engaged in an “interrelated pattern of criminal

activity motivated by or the effect of which is pecuniary gain or economic or

physical threat or injury,” GA. CODE ANN. § 16-14-2(b).

      166.    Under Georgia's RICO statute, it is “unlawful for any person, through

a pattern of racketeering activity or proceeds derived therefrom, to acquire or

maintain, directly or indirectly, any interest in or control of any enterprise, real

property, or personal property of any nature, including money.” GA. CODE ANN.

§ 16–14–4(a).


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       167.   “Racketeering activity,” also known as a “predicate act,” includes the

commission of, or the attempt to commit, violations of the Georgia Payday

Lending Act. GA. CODE ANN. § 16–14–3(9)(A)(xxxviii).

       168.   A “pattern of racketeering activity” means that there have been at

least two acts of racketeering activity that are interrelated and that were done “in

furtherance of one or more incidents, schemes, or transactions.” GA. CODE ANN. §

16–14–3(8)(A).

       169.   Conspiracy and/or endeavoring to violate the substantive provisions

of Georgia's RICO Act is a separate violation of the statute. GA. CODE ANN. § 16–

14–4(c).

     B. Pattern of Racketeering Activity

       170.   Defendants have engaged in acts that constitute a repeated and

systematic violation of the Georgia Payday Lending Act, specifically GA. CODE

ANN. § 16-17-2, as described above in paragraphs 20-105. GA. CODE ANN. §§ 16-17-

2.

       171.   As detailed in the preceding paragraphs, Defendants knowingly

entered into agreements to facilitate the development and management of their

payday lending enterprise and engaged in overt acts to further the business

interests of the enterprise in knowing violation of the Georgia Payday Lending

Act.    when Defendants, as persons employed by and associated with the



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aforementioned payday lending enterprise, along with other participants not yet

known to Plaintiffs, willfully and knowingly conspired and entered into a series

of agreements to violate Georgia’s Payday Lending Act.

      172.   Defendants are liable for their participation in the Georgia RICO

conspiracy because they knowingly and willfully joined a conspiracy which itself

contains a common plan or purpose to commit two or more predicate acts.

      173.   Each of the agreements identified in paragraph 166 contemplated that

Defendants would conspire or endeavor to commit at least one collection of

unlawful debt in violation of the Georgia Payday Lending Act and in furtherance

of the affairs of the enterprise.

      174.   This pattern of racketeering commenced as early as 2011 and

continues to the present.

      175.   The victims of Defendants’ illegal conduct include the Plaintiffs as

well as all other persons who executed a loan with Big Picture Loans when they

resided or were located in Georgia.

      176.   Therefore, Defendants have engaged in a pattern of racketeering

activity, as defined under GA. CODE ANN. §§ 16–14–3(8)(A), 16–14–3(9)(A)(xxxviii).

   C. Defendants are an Enterprise

      177.   Defendants Big Picture Loans and Ascension Technologies are

“enterprises” as that term is defined under GA. CODE ANN. § 16-14-3(6).



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      178.     Additionally, as individuals “associated in fact,” Defendants

Martorello and Gravel planned, conspired, organized, and/or operated the

corporate Defendants (and their predecessors in interest) with the intent of

charging and collecting illegal and usurious interest rates from desperate Georgia

consumers.

      179.     Defendants and other parties currently unknown to Plaintiffs acted in

concert to authorize and/or engage in conduct that violated the Georgia RICO Act

while conducting affairs of the corporations, Big Picture Loans and Ascension

Technologies. The corporate Defendants operated as an enterprise through their

respective board of directors and/or managerial agent acting on behalf of the

corporation.

      180.     As participants in the illegal lending enterprise, the Defendants had

(a) a purpose – to charge and collect illegal and usurious interest from desperate,

unsophisticated Georgia consumers; (b) relationships among those associated

with the enterprise, as specified above; and (c) longevity sufficient to permit the

RICO Defendants to pursue and accomplish the enterprise’s purpose.

   D. Substantive Violations of the Georgia RICO Act

      181.     In violation of GA. CODE ANN. § 16-14-4(b), Defendants have

conducted or participated, directly or indirectly, in an enterprise through a pattern

of racketeering activity.



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      182.   In violation of GA. CODE ANN. § 16-14-4(c), Defendants conspired to

violate the provisions of GA. CODE ANN. § 16-14-4(b).

   E. Injury and Remedy under the Georgia RICO Act

      183.   Plaintiffs and the Class members were injured as a result of

Defendants’ violation of GA. CODE ANN. § 16-4-4. In particular, Plaintiffs and the

Class have been deceived, coerced, and harassed to pay extortionate and usurious

interest, as well as the principal, on unlawful debts. Accordingly, as a direct and

proximate cause of their violations of the Georgia RICO Act and the Payday

Lending Act, Defendants are jointly and severally liable to Plaintiffs and the

putative members of the Class for their actual damages, treble damages, punitive

damages, investigation and litigation costs, and attorneys’ fees pursuant to GA.

CODE ANN. § 16-4-6(c).

      184.   For the prevention of future criminal activity, the Court should enjoin

Defendants from further misconduct in order to best serve the public interest.

Specifically, in accordance with the authority granted under section 16-14-6 of the

Georgia Code, the Court should enjoin further violations of the Georgia RICO Act

(and undue financial losses to Georgia residents) by issuing appropriate orders

and judgments including, but not limited to:

             (a) Ordering Defendants to divest themselves of any interest in any

                enterprise, real property, or personal property;



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             (b) Prohibiting Defendants from engaging in the same type of payday

                lending enterprises that are the subject of this litigation;

             (c) Ordering the Defendants’ dissolution or reorganization; and

             (d) Ordering the revocation of the certificate authorizing Defendant

                Ascension Technologies to conduct business within this State.

GA. CODE ANN. § 16-4-6 (noting that no showing of special or irreparable damage

to the Plaintiffs is required prior to the Court’s entry of this injunctive relief,

including a temporary restraining order and/or a preliminary injunction).

                     COUNT SIX – UNJUST ENRICHMENT

      185.   Plaintiffs incorporate each of the allegations in the preceding

paragraphs as if restated here.

      186.   The loans made by Defendants to Plaintiffs and the Class members

were void and illegal.

      187.   Plaintiffs and the Class members conferred a benefit on Defendants

when they repaid principal and interest on the void loans; Defendants knew of the

benefit; and Defendants have been unjustly enriched through their receipt of any

amounts in connection with the unlawful loans.

      188.   Accordingly, Plaintiffs seeks to recover from Defendants, jointly and

severally, all principal and interest repaid on Defendants’ loans by Plaintiffs and

the Class members.



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                            VII. PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs request that the Court enter judgment on behalf of

themselves and the Class they seek to represent against Defendants for:

(a)        Certification for this matter to proceed as a class action;

(b)        Declaratory relief, injunctive relief, actual damages, treble damages, and

punitive damages, as pled herein;

(c)        Attorney’s fees, investigation and litigation expenses, and costs of suit;

and

(d)        Such other and further relief as the Court deems proper.

                         VIII. DEMAND FOR JURY TRIAL

       Plaintiffs demand a trial by jury on all claims so triable.

       This 3rd day of July, 2018.

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